        Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 1 of 10




                                   STATEMENT OF FACTS

        Your affiant,                  , is a special agent assigned to the Federal Bureau of
Investigation (“FBI”) New York Field Office. In my duties as a special agent, I investigate national
security matters. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a special agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.


                                                                                                   1
       Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 2 of 10




       Open-source video and U.S. Capitol security cameras captured multiple images of
MATTHEW SCHMITZ (“SCHMITZ”) of Lindenhurst, NY, participating in the riot at the U.S.
Capitol on January 6, 2021.
       Security video surveillance from inside the U.S. Capitol shows that SCHMITZ was inside
the U.S. Capitol for approximately forty-one seconds. He entered via the Senate Wing Door at
approximately 2:14:44 pm, as captured in Image 1.




Image 1: SCHMITZ entering the Capitol building via the Senate Wing Door at 2:14:44 pm.




                                                                                           2
       Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 3 of 10




       Once SCHMITZ was inside, he turned left, walking north down a corridor for a few
seconds, as captured in Image 2, which is a screenshot from a video taken by “BG On the Scene”.




Image 2: SCHMITZ walking down a corridor inside the Capitol building, as captured in the “BG
On the Scene” video at time stamp 13:12.




Image 3: SCHMITZ walking down a corridor inside the Capitol building.
      SCHMITZ was wearing jeans, a dark green camouflage sweatshirt, an American flag
bandanna around his neck, a camouflage helmet, a black face mask, and tinted glasses.




                                                                                             3
       Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 4 of 10




       Approximately twelve seconds after the scene captured in Image 2, tear gas came
billowing down the hallway, also captured in the “BG On the Scene” video.




Image 4: The same hallway captured in Image 2, now filled with tear gas, in the “BG On the
Scene” video at time stamp 13:24.




                                                                                        4
       Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 5 of 10




        After the deployment of the tear gas, SCHMITZ turned around and walked back toward
the Senate Wing Door. He exited the Capitol building at 2:15:25 pm by climbing through a window
next to the Senate Wing Door, as captured in Image 5.




Image 5: SCHMITZ climbing out of a window next to the Senate Wing Door in the Capitol
building.




                                                                                             5
       Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 6 of 10




        Immediately upon exiting, SCHMITZ stood outside the Senate Wing Door, wiping down
his jacket with what appears to be an American flag handkerchief.




Image 6: SCHMITZ outside the Senate Wing Door after exiting through the window.




                                                                                       6
Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 7 of 10
Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 8 of 10
        Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 9 of 10




        The FBI obtained images of SCHMITZ, including Image 9, on the National Mall on
January 6, 2021, from the device of another rioter. SCHMITZ is wearing jeans, a dark green
camouflage sweatshirt, an American flag bandanna around his neck, and sunglasses with tinted
lenses.




Image 9: SCHMITZ on the National Mall before entering the Capitol.
        A vehicle registered to SCHMITZ registered License Plate Reader (“LPR”) hits on the
westbound on the Verrazzano Bridge on January 4, 2021, which is on the route from Long Island
(where Lindenhurst, NY, is located), to Washington, D.C. The same vehicle registered LPR hits
eastbound on the Verrazzano Bridge, on January 7, 2021, which is on the route from Washington,
D.C., to Long Island.
         Based on the foregoing, your affiant submits that there is probable cause to believe that
SCHMITZ violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.
        Your affiant submits there is also probable cause to believe that SCHMITZ violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that


                                                                                                   9
       Case 1:23-mj-00137-GMH Document 1-1 Filed 06/21/23 Page 10 of 10




building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 21st day of June 2023.
                                              G. Michael Digitally signed
                                                            by G. Michael
                                              Harvey        Harvey
                                             ___________________________________
                                             G. MICHAEL HARVEY
                                             U.S. MAGISTRATE JUDGE




                                                                                              10
